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       January 15, 2021                                                       John C Blessington
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       Via ECF                                                                F +1 617 261 3175

       Honorable Lewis A. Kaplan
       United States District Judge
       Daniel Patrick Moynihan U.S. Courthouse
       500 Pearl Street
       New York, NY 10007

       Re:      In Re Customs and Tax Administration of the Kingdom of Denmark (Skatteforvaltningen)
                Tax Refund Litigation (18-md-2865); related actions 18-cv-05053, 18-cv-09797, 18-cv-09836,
                18-cv-09837, 18-cv-09838, 18-cv-09839, 18-cv-09840, 18-cv-09841, 18-cv-10100

       Dear Judge Kaplan:

             This letter is to inform you that defendants Robert Crema, Darren Wittwer, and Acer Investment
       Group LLC (collectively, the “Defendants”) filed their Answers to Skatteforvaltningen’s (“SKAT”)
       Amended Complaints on January 15, 2021.

               Counsel for the Defendants filed the Answers in the related actions to respond to SKAT’s filings,
       which were also made in the related actions. This letter is being filed separately in the consolidated action,
       with the Answers attached.

                                                                                   Respectfully submitted,


                                                                                   /s/ John C. Blessington
                                                                                   John C. Blessington

       cc: Counsel of record, via ECF

       Enclosures




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